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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


  LONG ISLAND ROLLER REBELS,

                         Plaintiff,

         v.                                                    Case No. 2:24-cv-02721 (ARR/LGD)


  BRUCE BLAKEMAN in his official capacity
  as NASSAU COUNTY EXECUTIVE, and
  COUNTY OF NASSAU,

                         Defendants.


  PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND TO STATE COURT

         PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law dated April

  18, 2024, Plaintiff hereby moves this Court, pursuant to section 1447(c) of chapter 28 of the

  United States Code, for an order: (1) remanding this case back to New York State Supreme

  Court, Nassau County for further proceedings, and (2) ordering Defendants to pay Plaintiff’s just

  costs and attorney’s fees incurred as a result of its improper removal.

                                                     NEW YORK CIVIL LIBERTIES UNION
                                                         FOUNDATION

                                                     Gabriella Larios
                                                     Robert Hodgson
                                                     Molly K. Biklen
                                                     125 Broad Street, 19th Floor
                                                     New York, N.Y. 10004
                                                     Tel: (212) 607-3300
                                                     glarios@nyclu.org
                                                     rhodgson@nyclu.org
   Dated: April 18, 2024                             mbiklen@nyclu.org
          New York, N.Y.
                                                     Counsel for Plaintiff
